Case 1:25-cv-00766-JEB   Document 125-1   Filed 05/12/25   Page 1 of 3




                  Exhibit A
      Case 1:25-cv-00766-JEB          Document 125-1         Filed 05/12/25     Page 2 of 3




                                  Proposed Discovery Requests

                                     Requests for Admission

    1. Admit that the United States requested of El Salvador that CECOT Class Petitioners
       (hereinafter “Petitioners”) be detained in El Salvador.

    2. Admit that the United States has committed to provide El Salvador with funds that it has
       not yet provided in recognition of El Salvador’s cooperation in detaining alleged
       members of Tren de Aragua.

    3. Admit that, prior to Petitioners’ removal, the United States was aware that Petitioners
       would be detained at CECOT once removed to El Salvador.

    4. Admit that the United States, acting pursuant to the Alien Enemies Act, decided that each
       of the Petitioners should be removed to El Salvador.

    5. Admit that El Salvador did not request that any particular Petitioner be sent to El
       Salvador.

    6. Admit that prior to Petitioners’ arrival in El Salvador on March 15-16, 2025, El Salvador
       had not charged any of the Petitioners with a crime.

    7. Admit that prior to Petitioners’ arrival in El Salvador on March 15-16, 2025, El Salvador
       had not convicted any of the Petitioners of a crime.

    8. Admit that President Trump stated to ABC News on April 29, 2025, that he could secure
       the return of Mr. Kilmar Abrego Garcia to the United States from El Salvador.

    9. Admit that the United States has not requested the return of any Petitioner from El
       Salvador to the United States.

    10. Admit that the United States has taken no actions to obtain the return of any Petitioner
        from El Salvador to the United States.

    11. Admit that the Vice President of El Salvador said in an interview that El Salvador is
        providing a “service” to the United States by detaining Petitioners at CECOT.1

    12. Admit that the Vice President of El Salvador said in an interview that the status of the
        detainees sent to El Salvador is assessed by the country sending the detainees.2




1
  See https://legrandcontinent.eu/es/2025/05/06/cualquier-pais-puede-requerir-los-servicios-de-
las-instalaciones-penitenciarias-de-el-salvador-la-entrevista-con-el-consigliere-de-bukele-x.
2
  See id.
                                                 1
  Case 1:25-cv-00766-JEB           Document 125-1         Filed 05/12/25      Page 3 of 3




                                      Interrogatories

1. List all efforts by the United States to request or secure the return of Petitioners to the
   United States.

2. Identify the date and time that the United States informed El Salvador of the specific
   identities of the individuals that the United States removed to El Salvador on March 15-
   16, 2025, pursuant to the Alien Enemies Act.

3. List the measures taken by the United States to pursue the return of Mr. Kilmar Abrego
   Garcia from El Salvador to the United States.

4. Identify all individuals that the United States removed to El Salvador solely pursuant to
   the Alien Enemies Act.

5. Describe the process followed by the United States to identify the individuals to be
   removed to El Salvador pursuant to the Alien Enemies Act.

6. Identify all individuals that the United States removed to El Salvador whom the United
   States has designated as members of Tren de Aragua.

                                 Requests for Production

1. All documents memorializing, documenting, or describing the arrangements between the
   United States and El Salvador concerning the detention of alleged Tren de Aragua
   members in El Salvador.

2. All communications between the United States and El Salvador concerning the matters
   identified in paragraph 9 of the declaration filed on May 9, 2025, in this matter. See
   Exhibit 1 to ECF No. 118.




                                              2
